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iN THE uNrrED srATEs DisrRicr CouRT lN,T,ALS. g
wEsTERN DISTRICT or TENNESSEE '
WESTERN DrvisIoN
CARL EDWARDS,

Plaintiff,
vs. No. 03-2834 BA
TOWN OF COLLIERVILLE, TENNESSEE;
L. E. GOODWIN, CHIEF OF POLICE;
OFFICER FRANKLIN M. JONES,

Defendants.

 

JOINT PR_E-TRIAL ORDER

 

This action came before the Court on l\/Iarch 28, 2005 at 9;00 a.m. for a Pre-Trial
Conference, pursuant to Rule 16 of the Federal Rules of Civil Procedure. Jolin D. Horne,
Attorney, appeared as counsel for the Plaintiff, and Edward J. McKenney, Jr., Attorney,
appeared as counsel for the Defendants. The following actions Were taken by the Court:

I. JUR]SDICTI()N

This is an action for compensatory and punitive damages for deprivation of civil rights
pursuant to the provisions of 42 USC §1983. The Court’s jurisdiction is invoked pursuant to the
provisions of 28 USC §1331, and 28 USC §l343(a)(3). Because the events giving rise to the
claims asserted in this litigation, and because all Det`endants reside in this judicial district, venue

is proper pursuant to the provisions of 28 USC §139l(b).

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II. MOT]ONS PENDING
There are five motions in limine filed by Defendants which are pending before this
Honorable Court. Defendants respectfully submit that such motions should be granted Plaintiff

respectfully submits that such motions should be denied.

HI. STATUS OF PLEADYNGS

The pleadings are complete.

iV. STATUS OF DlSCOVERY

Discovery is complete

IV. GENERAL NATURE OF CLAIMS OF THE PARTIES

A. Plaintiff"s Contentions:

Plaintiff contends that on October 4, 2003, at approximately 9:25 a.m., he was driving his
employer’s l995 Yellow GMC box truck westbound on Winchester Road in Shelby County,
Tennessee. After the Plaintiff"s vehicle had left the City Limits of Collierville, Tennessee, it was
struck in the rear by a Collierville Police Cruiser, driven by Collierville Police Officer, Michael
J. Pauley. The Plaintiff contends that the collision between the Collierville Police Cruiser and
his truck occurred outside the City Limits of the Town of Collierville and inside the City Limits
of the City of Germantown. The Plaintiff contends that Officer Pauley was driving at an unsafe
rate of speed, was engaged in an unlawful pursuit of an alleged third party traffic offender_, and

was the proximate cause of the collision

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The Plaintiff" s employer had been called to the scene of the collision. After inspecting
the position of the vehicles and the length of the skid marks left by the Police Cruiser, the
Plaintiff"s employer raised questions with the Collierville Police Department concerning the fact
that the collision had occurred in the City of Germantown. Following a lengthy investigation by
the Collierville Police Department at the scene of the collision, the Piaintiff was permitted to
leave with his passengersl No traffic citation was issued to the Plaintiff.

On October l2, 2003, Officer Pauley was issued a written reprimand by the Collierville
Police Department for engaging in an unlawful pursuit that took him outside the town limits of
the Town of Colliervillel On October l4, 2003, the Collierville Police Department received a
letter from an attorney for one of the Plaintiff" s passengers, stating that the above collision had
taken place in Gennantown, Tennessee. On October 14, 2003, the Collierville Police Chief
communicated with the Collierville Town Administrator confirming receipt of the letter from the
passenger’s attorney On October 27, 2003._ a certified letter from the attorney for the Plaintiff' s
employer was received by the Collierville Mayor and the Collierville Town Administrator
stating that the above collision had occurred in the City of Germantown - not in Collierville, and
that the cause of the above collision was Officer Pauley’s excessive, unsafe rate of speed, and his
unreasonable and dangerous chase/pursuit

Notwithstanding the above notices, the Collierville Police Department_, through its
administrators and officers_, issued a traffic citation to the Plaintiff for an unlawful U-turn that
would have occurred in the City of Germantown. A Collierville Police Officer telephoned the
Plaintiff and directed him to come to Collierville to pick up the traffic citation. When the
Plaintiff did not return to the Town of Collierville to accept the traffic citation, the Collierville

Police Department, following its established customs, policies, and procedures, caused an

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affidavit and request for an arrest warrant to be presented to the .ludge of the Collierville
Municipal Court on November 6, 2003. The affidavit presented to the\Collierville l\/Iunicipal
Judge indicated that the alleged traffic violation, which served as the basis for the trafiic citation
issued to the Plaintiff, had occurred in the City of Collierville, notwithstanding knowledge of the
Collierville Police Department and the Town of Collierville to the contrary.

On November 6, 2003, as a result of the request by the Collierville Police Departrnent for
an arrest warrant, pursuant to the customs, policies, and procedures established by the Town of
Collierville, an arrest warrant was issued by the Collierville l\/Iunicipal Court that day. Pursuant
to customs, policies, and procedures of the Collierville Police Department, that arrest warrant
was then immediately transmitted to the Shelby County Sheriff"s Department’s Fugitive Squad.
At 10:55 p.m. on November 6, 2003, Deputies with the Shelby County Sheriff`s Department’s
Fugitive Squad made a physical arrest of the Plaintiff in his home in North Memphis. The
Shelby County Sheriff’s Deputies then transported the Plaintiff to a parking lot at the corner of
Poplar and Byhalia in the Town of Collierville, where physical custody of the Plaintiff was
transferred to a waiting Collierville Police Officer. That Collierville Police Officer then
transported the Plaintiff to the Collierville Jail, where he was confined The following morning,
the Plaintiff_" s employer made bond for him, and he was released

The traffic citation and the charges which were the basis for the arrest warrant were nolle
prossed following the Plaintiff`s filing of this lawsuit; nevertheless, as a result of his wrongful
arrest and confinement, the Plaintiff was deprived of his civil rights. As a direct and proximate
result of the actions of the Town of Collierville and its officers, acting under the color of law, the
Plaintiff was also embarrassed, humiliated_. sustained emotional stress, and incurred out of

pocket expensesl Furthermore_, the actions of the Town of Collierville and the Collierville Police

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Department, under ali the circumstances were so wanton and malicious as to entitle the Plaintiff
to punitive as well as compensatory damages

B. Defendants’ Contentions:

Defendants deny Plaintiff’s allegations and deny that he is entitled to relief, Plaintiff
failed to maintain a proper lookout and keep the moving van he was driving under control,
crossing from the middle lane into the inside lane while attempting to make a u-turn despite
observing the police vehicle being driven by Collierville police officer, Michael Pauley,
approaching in the inside lane at what Plaintiff observed to be a high rate of speed. Although
Officer Pauley attempted to avoid striking the moving van, he struck the left rear corner of the
van as Plaintiff was attempting to make a u-turn.

The accident took place in the median in front of the MLGW Substation on Winchester
Road. The Collierville Utilities Booster Pump is immediately east of the MLGW Substation.
Although both the MLGW Substation and the Collierville Utilities Booster Pump are located
between the Welcome to Germantown and the Welcome to Collierville signs, it is undisputed
that both are located with the Collierville town limits as a result of annexation in July, 2000.
There is nothing on Winchester Road to mark the precise legal boundary line between the City of
Germantown and the Town of Collierville on Winchester Road for police and fire department
employees whose jobs require them to work in this area, and a simple review of a map does not
disclose the precise legal boundary line across Winchester Road. From the time of annexation
until the present lawsuit was filed, both the Town of Collierville and the City of Gerrnantown
recognized the boundary line between those two cities to be the power lines crossing Winchester

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The accident involving the vehicle driven by l’laintiff and the vehicle driven by Ofticer
Pauley took place approximately 200 feet east of the power lines, a location considered at the
time by both the Collierville and Germantown police departments as being within the
Collierville town limits. The Collierville Town Engineer, Houston Daugherty, confirmed for the
Collierville Police Department on October 6, 2003 that the power lines crossing over Winchester
Road was considered to be the eastern town boundary of Collierville

Plaintiff and the passengers in the moving van told the investigating officers that Plaintiff
was attempting to make a u-turn at the time of the accident- The evidence at the scene of the
accident was consistent with the statement of Plaintiff and his passengers that Plaintiff was in the
process of making a u-turn at the time of the accident However, since Officer Pauley had been
transported by ambulance to the hospital, the investigating officers were not able to conclude
their investigation at the scene, thus no tickets were issued at the scene and Plaintiff was allowed
to leave the scene pending conclusion of the investigation Officer Pauley was subsequently
interviewed and a decision was made that tickets should be issued to both drivers. Officer Pauley
was issued a ticket for failure to exercise caution and Plaintiff was issued a ticket for making a u-
lLH"II.

Tennessee law requires that a driver who is issued a traffic ticket sign the ticket Refusal
to do so requires that the driver be arrested Officer Pauley signed his ticket. On October 6, 2003,
Plaintiff was called by Collierville police officer Bryan Clark, advised of his ticket, and told that
he needed to come to the Collierville Police Department to sign the ticket. Plaintiff did not
question the ticket, instead advising Officer Clark that he would come in the following day to
sign the ticket. When Plaintiff failed to come in to sign the ticket the following day, Officer

Franklin Jones telephoned him on October 8, 2003, again advised him about the ticket and said

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that he was required to come to the Collierville Police Department to sign the ticket. Once agajn,
Plaintiff never questioned the ticket. Consistent with Tennessee law, Officer Jones advised
Plaintiff that his failure to come in and sign the ticket would result in his arrest Unfortunately
for Plaintiff and unknown to the Collierville Police Department, Plaintiff`s employer, Colquett
Van Dyke, advised him not to go to the Collierville Police Department to sign the ticket.
Plaintiff never contacted the Collierville Police Department after October 8, 2003 and made no
effort whatsoever after that date to come to the Collierville Police Department to sign the ticket
despite being aware that his failure to sign the ticket would result in his arrest.

After giving Plaintiff approximately four weeks to come in to the Collierville Police
Department to sign the ticket and confirming that Plaintiff had failed to do so, consistent with
Tennessee law, Officer Jones sought an arrest warrant for Plaintiff. Consistent with Tennessee
law, a warrant was issued by Collierville City Judge, William Craig Hall, for Plaintiff"s arrest.
Chief Goodwin had no involvement in the process of seeking or obtaining the arrest warrant As
warrants are entered into a computer database available to other local law enforcement agencies,
two Shelby County deputy sheriffs, John Thompson and George Maxwell, who were attempting
to make a felony arrest which would take them in vicinity of Collierville area, retrieved the
warrant information regarding Plaintiff and arrested him on November 6, 2003.

Plaintiff would not have been arrested had he simply signed the ticket as he had agreed to
do. Assuming Plaintiff experienced car trouble on October 7, 2003, the Collierville Police
Department had no way to know that he could not get his car running for an entire month.
Plaintiff never told any Collierville police officer that there was no way for him to get to the

Police Department to sign the citation. Plaintiff made no attempt to ask anyone to drive him to

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the Collierville Police Department He made no attempt to borrow a vehicle in order that he
could come in to sign the citation.

Plaintiff would not have been incarcerated had he simply paid the $94.00 ticket When
Plaintiff said that he did not have $94 at the time ol` his arrest, he was allowed to call someone
who could bring the money to the Collierville Police Department for Plaintiff to pay the ticket.
Plaintiff called Mr. Van Dyke to bring the 894 and would not have been incarcerated had l\/lr.
Van Dyke simply come at that time to the Police Department and loan the money to Plaintiff, but
l'\/lr. Van Dyke was unwilling to do so. When Mr. Van Dyke finally came to the Police
Department the following morning, Plaintiff was promptly released once the ticket was paid. At
no time while he was at the Collierville Police Department did Plaintiff ever question the ticket
or explain why he had never come to the Police Department to sign the ticket during the
preceding month.

As of the date he sought the arrest warrant, Officer Jones reasonably believed that the
accident scene was located in the Town of Collierville. A reasonable officer under similar
circumstances would have believed that there was probable cause to seek an arrest warrant from
the Collierville City Court Judge based upon Plaintiffs refusal to sign the ticket under the
circumstances presented in this case. Chief Goodwin was not involved in the decision to seek an
arrest warrant or the issuance of the warrant and did nothing to violate Plaintiff"s federal rights.
When this lawsuit was first filed, Chief Goodwin reasonably believed that the accident scene
was located in the Town of Collierville. A reasonable officer under similar circumstances would
not have believed that anything had been done by anyone in the Collierville Police Department

to violate Plaintiffs federal rights

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lt was not until officials from the Collierville Planning Department subsequently visited
the accident scene and did an additional investigation that it was learned that, although the
l\/lemphis Light Gas & Water Substation in front of which the accident occurred was located in
Collierville, the median a few feet in front of the Substation was actually located in
Germantown. lt is undisputed that, immediately upon being advised by officials in the
Collierville Planning Department that the accident scene was in Germantown, the Collierville
Police Department immediately requested that the ticket which had been issued to Plaintiff be
dismissed and the charge against him be expunged This was done and Plaintiff was refunded
the cost of the ticket.

Plaintiff can state no cause of action against Officer Franklin .lones, as he had probable
cause to seek an arrest warrant when Plaintiff failed to sign the ticket, his actions were taken in
good faith and were reasonable based upon the circumstances presented and ajudge determined
that there was probable cause to arrest Plaintiff. Furthermore, any action against Officer l ones is
barred by the doctrine of qualified immunity Plaintiff can state no cause of action against Chief
Lawrence Goodwin as he took no action to violate Plaintiff"s rights. Similarly. any action against
Chief Goodwin is barred by the doctrine of qualified immunity Finally, Plaintiff can state no
cause of action against the Town of Collierville as he was not injured as the result of any

municipal custom or poiicy.

VI. STIPULATED FACTS
The following facts have been stipulated by counsel at the Pre-Trial Conference.
l. The Town of Collierville is a city in the eastern portion of Shelby County,

Tennessee, incorporated pursuant to the Laws of the State of Tennessee.

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2. At all times material to this litigation, the Defendant, L. E. Goodwin, was
employed by the Town of Collierville as its Chief of Police.

3. At all times material to this litigation, the Defendants, Officer Franklin l\/l. Jones,
and Patrolman Michael J. Pauley, Sr., were employed by the Town of Collierville as law
enforcement/police officers

4. On October 4, 2003, Officer Michaei Pauley was authorized by the Collierville
Police Department to operate one of its police cruisers.

5. On Saturday, October 4, 2003, there was a collision involving a Collierville
Police Cruiser driven by Officer Pauley and a moving truck driven by the Plaintiff

6. At the time of the collision, the Plaintiff s vehicle was proceeding westbound on
Winchester Road, approximately one-half mile west of its intersection of Houston Levee Road.

7. At the time of the collision, Officer Pauley was proceeding westbound on
Winchester Road responding to a call regarding of a reckless driver proceeding westbound on
Highway 385.

8. At the time of the collision, Officer Pauley was operating his Police Cruiser at a
high rate of speed with only his rear emergency lights operating

9. The section of Winchester Road upon which the Plaintiff and Officer Pauley were
traveling had three dedicated lanes going westbound, with a median separating the three lanes
from the three lanes of eastbound traffic.

10. At the time of the collision, the traffic on Winchester was light and the weather
was clear.

ll. On November 6, 2003, an Affidavit was prepared by Officer Jones and filed with

the Collierville Municipal Court_, seeking an arrest warrant for the Plaintiff.

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l2. On November 6, 2003, Officer J ones appeared before the Judge of the Collierville

Municipal Court and confirmed the facts set forth in his Affidavit.

IV. CONTESTED ISSUES OF FACT

l. Whether the location of the collision was outside the Town Limits of the Town of
Collierville and inside the City Limits of the City of Germantown‘?

2. Whether Officer Pauley’s Collierville Police Cruiser left 216 feet of skid marks
prior to the point of its impact with the Plaintiff"s truck?

3. Whether at all times material to this litigation, the Town of Collierville
maintained numerous maps that depicted the Collierville Town Limits, and in particular, the
intersection of the Town Limits with Winchester Road‘?

4. Whether on October 12, 2003_ the Collierville Police Department issued a written
reprimand to Officer Pauley, concluding that he had been traveling at a minimum speed of 67
MPl-l, and that he had been engaged in an unlawful pursuit that took him outside the Town
lrimits of the Town of Collierville‘?

5. Whether on October 14, 2003, the Collierville Police Department received a letter
dated October 10, 2003 from an attorney for one of the Plaintiff s passengers, alleging that the
collision took place in Germantown, Tennessee?

6. Whether on October lS, 2003, TML-, acting on behalf of the Town of Collierville,
wrote the Plaintiff stating he was responsible for the above collision?

7. Whether on October 14, 2003, the Collierville Police Chief communicated with

the Collierville Town Administrator, confirming Officer Pauley’s violation of emergency

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response regulations and confirming receipt of the October l0, 2003 letter from the attorney for
the Plaintiff"s passenger?

8. Whether on October 27, 2003, the Town of Collierville received written
correspondence from counsel for the Plaintiff"s employer asserting that the cause of the October
4, 2003 collision was Officer Pauley’s excessive speed and his unreasonable and dangerous
police pu.rsuit?

9. Whether several days after the October 4, 2003 collision, and after the Plaintiff
had been permitted to leave the scene of the collision, the Collierville Police Department issued
a traffic citation to the Plaintiff, alleging an unlawful U-turn?

10. Whether some time later, an officer with the Collierville Police Department
telephoned the Plaintiff and directed him to return to the Town of Collierville to receive the
traffic citation issued as a result of the October 4, 2003 collision?

l l. Whether on November 3, 2003, after the Plaintiff had not come to Collierville to
pick up the traffic citation, a memorandum was issued from the Office of the Collierville Police
Chief, directing that the Plaintiff be physically arrested?

l2. Whether on November 6, 2003, after the presentation by Officer Jones ofhis
affidavit, a warrant for the physical arrest of the Plaintiff was issued by the ludge of the
Collierville Municipal Court?

13. Whether following the issuance of the arrest warrant on November 6, 2003, the
Collierville Police Department caused the arrest warrant to be transmitted to the Shelby County

Sheriff" s Fugitive Squad‘?

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]4. Whether on November 6, 2003, at approximately 10:55 p.m., Deputies with the
Shelby County Sheriff s Department made a physical arrest of the Plaintiff at his horne in North
Memphis?

15. Whether while in the Plaintiff`s home preparing to execute the arrest warrant, one
of the Shelby County Sheriff Deputies telephoned the Collierville Police Department to verify
that the Collierville Police Department still wanted the Plaintiff to be arrested‘?

l6. Whether after the Collierville Police Department verified that the Plaintiff was to
be arrested, the Sheriff’ s Department Deputies executed the arrest warrant and placed the
Plaintiff under physical arrest?

17. Whether the Shelby County SherifF s Deputies then transported the Plaintiff from
his home to a parking lot at the comer of Poplar and Byhalia in the Town of Collierville?

18. Whether upon arrival at that parking lot, physical custody of the Plaintiff was
turned over by the Shelby County Sheriff` s Deputies to a Collierville Police Officer.?

19. Whether, thereafter, the Collierville Police Officer took the Plaintiff to the
Collierville Jail at approximately 11:20 p.m. on November 6, 2003.?

20. Whether the Plaintiff was released from the Collierville Jail at 10:37 a.m. on
November 7, 2003, after his employer posted a 394.00 bond?

2l. Whether the traffic citation issued to the Plaintiff from the Collierville Police
Department, as well as the charges contained in the Affidavit for the arrest warrant, were nolle
pressed by the Collierville Police Department following the filing of this iawsuit?

22. Whether the Defendants were justified in issuing a traffic citation to the Plaintiff?

23. Whether Defendant, Franklin Jones, reasonably believed that the accident occurred

in Collierville, Tennessee'?

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24. Whether any mistake as to the accident scene being within the Collierville town
limits was anything more than mere negligence?

25. Whether Defendant, Franklin .lones, reasonably believed that there was probable
cause to seek a warrant for the arrest of Plaintiff after he refused to sign the citation which had
been issued to him as a result of the October 4, 2003 accident?

26. Whether Defendant, Franklin Jones, reasonably believed that there was probable
cause to believe that Plaintiff made an unlawful u-turn, in violation of Collierville Ordinance No.
9-305.

27. Whether Plaintiff moved his vehicle from the lane of traffic in which he had been
traveling before ascertaining that such movement could be made with safety?

28. Whether Plaintiff made a left turn at a time and place and in such a manner that it
could not be made with reasonable safety?

29. Whether Plaintiff failed to first look and see that he could make a turn in safety?

30. Whether Defendant, Lawrence Goodwin, participated in, directed, or was aware
that an arrest warrant was being sought for Plaintiff prior to the issuance of such warrant?

31. Whether Defendant, Lawrence Goodwin, participated in7 directed, or was aware
that an arrest warrant was issued for Plaintiff prior to the time of arrest?

32. Assuming that Plaintiff was deprived of any federal right, whether said deprivation
took place at the direction of Defendant, Lawrence Goodwin, or with his knowledge,
acquiescence or consent?

33. Whether Defendant, Lawrence Goodwin, grossly disregarded his duty to oversee

Defendant, Franklin Jones, and that a reasonable person in the Chief’ s position would have known

that his dereliction of duty probably would cause a deprivation of rightsl

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34. Whether Defendants, Franklin Jones and Lawrence Goodwin, believed in good
faith that their actions were reasonable?

35. Whether the actions of Defendants, Franklin J ones and Lawrence Goodwin, were
reasonable, in light of the facts and circumstances then and there existing?

36. Whether Defendants denied the Plaintiff his federally protected rights?

37. Whether Plaintiff sustained any injuries as a proximate result of any acts of
Defendants

38. Whether the Plaintiff is entitled to recover compensatory damages against the
Defendants?

39. Whether the Plaintiff is entitled to recover punitive damages against Defendants,

Franklin J ones and Lawrence Goodwin?

Vlll. CONTESTED lSSUES OF LAW

l. Whether the Defendants were acting under the color of law in conjunction with the
arrest of the Plaintiff on November 6, 2003?

2. Whether Plaintiff can state a cause of action against Defendant, Franklin Jones,
pursuant to 42 U.S.C §1983?

3. Whether Plaintiff can stated a cause ofaction against Defendant, Lawrence
Goodwin, pursuant to 42 U.S.C. §1983?

4. Whether Plaintiff can stated a cause of action against Defendant, lown of
Collierville, pursuant to 42 U.S.C. §l983?

J. Whether the actions of Defendants, Franklin Jones and Lawrence Goodwin are

protected by the Doctrine of Qualified lmmunity?

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6. Whether Defendant, Franklin .lones had a reasonable basis to believe that there was
probable cause to seek an arrest warrant for Plaintiff‘?

7'. Whether Defendant, Franklin Jones, reasonably believed that there was probable
cause to seek a warrant for the arrest of Plaintiff after he refused to sign the citation which had
been issued to him as a result of the October 4, 2003 accident?

8. Whether Defendant, Franklin Jones, reasonably believed that there was probable
cause to believe that Plaintiff made an unlawful u-turn, in violation of Collierville Ordinance No.
9-305 prior to codification?

9. Whether there was reasonable cause to believe that Plaintiff violated the provisions
of Tenn. Code Ann. §55-8-123 (l), which provides that “a vehicle shall be driven as nearly as
practicable entirely within a single lane and shall not be moved from such lane until the driver has
first ascertained that such movement can be made with safety.”

10. Whether there was reasonable cause to believe that Plaintiff violated the provisions
of Tenn. Code Ann. §55-8-142 (a), which provides that no person shall . . .“turn a vehicle from a
direct course or move right or left upon a roadway, unless and until such movement can be made
with reasonable safety?"’

l l. Whether there was reasonable cause to believe that Plaintiff violated the provisions
of Tenn. Code Ann. §55-8-143 (a), which provides that “every driver who intends to start, stop or
turn, or partly turn from a direct line, shall first see that such movement can be made in safety?”

l2. Whether the fact that the accident scene was subsequently determined to be barely
outside of the Collierville town limits necessarily makes Plaintiff s arrest constitutionally invalid?

l3. Whether, assuming that Plaintiff could not be charged with a violation ofthe

Collierville u-turn Ordinance, he was necessarily deprived of any constitutional right, in view of

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the fact that his conduct violated the provisions of 'l`enn. Code Ann. §§5-8-]23(1), 55-8-142(a)
and 55-8-143(a) and provided probable cause for issuance of the arrest warrant?

l4. Whether Plaintiff s constitutional rights were violated where he chose not to
acknowledge receipt of the ticket by signing it as required by Tennessee law?

l5. Whether, assuming that Plaintiff"s arrest violated rlennessee law, it necessarily
follows that his constitutional rights were violated?

16. What is the proper measure of damages, if any?
Were the customs, policies, and procedure followed by the Town Collierville and its Police
Department, which are the subject of this litigation, properly administered under the

circumstances of the case?

lX. EXHIBITS
A. Plaintiff’ s Exhibits:

(l) Aerial photograph of area of collision obtained by Plaintiff"s employer
from Town of Collierville. [DEFENDANTS OBJECT TO THIS
EXHIBIT]

(2) Aerial map maintained by Town of Collierville

(3) Page 205 from Handy Map map book. [DEFENDANTS OBJECT T()
THIS EXHIBIT]

(4) Collision Scene Field Sketch and calculations prepared by Collierville
Police Department

(5) Photographs of Collierville Police Cruiser and skid marks.

(6) Photos of Plaintiff"s truck.

(7) Photographs of sign to “Welcome to Collierville_”

(8) October 12, 2003 written reprimand issued by Collierville Police
Department to Officer Pauley.

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(9) On October 10. 2003, letter from attorney for Plaintiff"s passenger to
Collierville Police Department [DEFENDANTS OBJECT TO THIS
EXHIBIT AND HAVE FILED A MOTION IN LIMINE].

(`10) October l4, 2003 email from Chief Goodwin to Town Administrator,
confirming written reprimand and receipt of letter from attorney for
passenger.

(ll) October l5_1 2003 letter from TML to Carl Edwards. [DEFENDANTS
OBJECT TO THIS EXHIBIT AND HAVE FILED A MOTION IN
LIMINE].

(l2) October 24, 2003 certified letter from attorney for Country Club Moving
to Collierville Mayor and Town Administrator. [DEFENDANTS
OBJECT TO THIS EXHIBIT AND HAVE FILED A MOTION IN
LIMINE].

(13) Retum receipt from United States Postal Service dated 10/27/03,
confirming receipt of 10/24/03 letter by Town Administrator.
[DEFENDANTS OBJECT TO THIS EXHIBIT AND HAVE FILED
A MOTION IN LIMINE].

(l 4) Traffic citation issued by Officer Jones to Plaintiff

(15) November 3, 2003 l\/lemorandum from Collierville Police Chief directing
physical arrest of Plaintiff [DEFENI)ANTS OBJECT TO THIS
EXHIBIT AND HAVE FILED A M()TION IN LIMINE].

(16) Affidavit of Complaint executed by Officer .l ones on l 1/6/03.

(17) i`own of Collierville Warrant for arrest of Plaintiff dated 11/6/03.

(l 8) Shelby County Sheriff` s Department daily activity log of Fugitive
Division dated 11/6/03, confirming time of arrest of Plaintiff

(19) Collierville Police records of arrest of Plaintiff

(20) November ll, 2003 letter from Collierville 'l`own Court to the Plaintiff,
directing Court appearance

(21) November 21, 2003 Collierville Police Department memo from Chief

Goodwin directing nolle prosse.

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(15)
(16)

(22) November 2lg 2003 letter from Collierville l\/lunicipal Court confirming

nolle prosse.
(23) Collierville City Court records of nolle prosse dated l2/l 1/03.
(24) Town of Collierville refund check dated November 25, 2003 to Plaintiff

Defendants’ Exhibits:
Complaint (with any items excluded being redacted) [Plaintiff will object to

admission of Deposition Testimonv as an Exhibit|.

Deposition of Plaintiff.

October l2, 2003 written reprimand

October 14, 2003 e-mail from Chief Goodwin to J' ames Lewellen

(5) Accident report, including notes, field sketches, diagrams and.
calculations

Photographs taken at accident scene.

Ticket issued to Plaintiff

Ticket issued to Officer Pauley

Affidavit of Complaint

Warrant

.ludgment

Order of Expungement

l\/lemo seeking dismissal of ticket

Court Appearance Bond

11/3/03 Tracking memo

E-mail from Lt. Albonetti to Houston Daughtery

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(29)

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(25)
(26)
(27)
(28)

(29)

Deposition of l\/lichael Pauley (if not available to testify) [Plaintiff Will object to
admission of Denosition Testimonv as an Exhibitl

Deposition ofColquett Van Dyke [Plaintiff will obiect to admission of
Deposition Testimony as an Exhibit|

Deposition of Billy Ruffin [Plaintiff will obiect to admission of Denosition
Testimonv as an Exhibit]

Deposition of l\/[ichael Ruffin [Plaintiff will object to admission of Deposition
Testimonv as an Exhibitl

Tenn. Code Ann. §55-8-123 (l)

Tenn. Code Ann. §55-8-142 (a)

Tenn. Code Ann. §55-8-143 (a)

Collierville Ordinance No. 9-305, now codified as §71.49

Collierville Ordinance No. 9-205, now codified as §71.34

Tenn. Code Ann. §40-7-109.

Tenn. Code Ann. §7-63-101 through 7-63-] 0;;.

Tenn. Code Ann. §40-7-] 18

Tenn. Code Ann §40-7-] 20

rfhe authenticity and admissibility of the foregoing exhibits are stipulated, except where

an objection is made. Either party may examine or cross-examine with respect to any exhibit

admitted by the Court.

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X. Wl'l`NESSES

A. Plaintiff" s Witnesses 4 Will Call

(1)

(2)

Carl Edwards

Colquett Van Dyke

Plaintiff S Witnesses ~ MHV Call

(l)
(2)
(3)
(4)

Michael Ruffin
Billy .l. Ruffin
George J_ l\/laxwell

John C. Thompson

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Den)osition Testimonv - Ma\/ call Defendants Will object to the admission of

deposition testimony as exhibits¢

(l) James H. Lewellen
(2) ChiefL. E. Goodwin
(3) Franklin .l ones
(4) Brian Clark
(5) l\/lichael Pauley
(6) Teresa Dowdy
(7) R. V. l\/letheney
B. Defendants" Witnesses

The following witnesses will be called by Defendants:

(1)
(2)

Officer Franklin l\/l. Jones

Chief Lawrence Goodwin

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(3) Houston Daugherty

(4) Harvey i\/latheny

(5) Bryan Clark

(6) Lt. Michael Albonetti
(7) Deputy Chief Tom Lott
(8) Lt. lay Ford

(9) Plaintiff

(10) Colq_uett Van Dyke

(l l) l\/lark King

The following witnesses may be called by Defendants:
(l) l\/lichael Pauley (either live or by deposition, if unavailable)
(2) James Lewellen
(3) Dave Hamric
(4) Jeff Abeln
(5) Wes Green
(6) Steve l\/chaniel
(7) William Craig l-Iall
(8) Nicole Davidson
(9) Rae Dowdy

(10) Michelle Vickers
ll éz¢mc_ A/l/H’ "‘“5~’-°'
r 2_ j`~l¢\~ 714 wf-NV‘/

Witnesses not listed will not be permitted to testify on the trial except by further order of

the Court, but this restriction shall not reply to rebuttal witnesses

Xl OTHER INFORMATION
Unless modified or supplemented by the Court, this Order shall be binding on both

parties on the trial.

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This Pre-Trial Order shall supplant the pleadings
The Court shall reserve for its subsequent ruling Plaintiffs’ request for attorney fees and
reimbursement for expenses
Xll. TRIAL INFORMATION
`fhis action is scheduled for lury Trial to commence On April 4, 2005 at 9:30 a.m.

A. Estimated Length of Trial:

 

Four days
B. Possibilitv Of Settlement Prior To Trial

Poor.

 

. ` NIEL BREEN `
Unit d States District Court Judge

 

Date: mC/\/) f'l.+Ll 2001

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APPROVED:

areas

J<§hn` DTHOm<-, (#4815)

Attorn y for Plaintiff

6060 oplar Ave., Suite 295
emphis, TN 38119

(901)685-9222 (Phone)

(901)869-0912 (Fax)

award

Edward r. ryke'nney, Ji_.r»#s€so)
n

Attorney fo efendants

One Commerce Square, Ste. 2700
Memphis, lN 38103-2156
(901)526-1455 (Phone)
(901)526-4084 (Fax)

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Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:03-CV-02834 was distributed by fax, mail, or direct printing on
May 13, 2005 to the parties listed

 

 

John D. Horne

THE WlNCHESTER LAW FIRM
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l\/lemphis7 TN 38119--278

Edward J. McKenney

HARRIS SHELTON HANOVER VllALSH7 PLLC.
One Commerce Square

Ste. 2700

l\/lemphis7 TN 38103--255

Honorable .l. Breen
US DISTRICT COURT

